                   IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                            WESTERN DIVISION

                               No. 5:20-HC-2088-FL


CHARLES HALLINAN, JOSEAN                     )
KL"\JARD, ARNOLD J. HILL,                    )
BENJAMIN D. McRAE, JOHN DAILEY,              )
LEE M. AYERS, GEORGE B. RIDDICK,             )
JORGE LUIS MALDONADO, ANT,VAN                )
HARRIS, ANTHONY BUTLER, and                  )
TROY A. TITUS, on behalf of themselves       )
and similarly situated individuals,          )
             Petitioners/Plaintiffs,         )
                                             )
        V.                                   )   DECLARATION OF PHILLIP CLARK
                                             )
THOMAS SCARANTINO, Complex                   )
Warden, Federal Correctional Complex         )
Butner; MICHAEL CARVAJAL, Federal            )
Bureau of Prisons Director; and JEFFERY      )
ALLEN, Federal Bureau of Prisons             )
Medical Director. in their official          )
capacities,                                  )
            Respondents/Defendants.          )

        I, PHILLIP CLARK, do hereby declare as follows:

   I.        PERSONAL BACKGROUND

        1.    I am currently employed by the Federal Bureau of Prisons ("BOP'') of

the United States Department of Justice, as the Supervisory Correctional Systems

Specialist and the Complex Case Management Coordinator ("CMC"), at the Federal

Correctional Complex in Butner, North Carolina. ("FCC Butner").



                                                     RESPONDENTS' APPENDIX 010
      2.     The CMC's Office is dedicated to providing oversight of case

management activities within the institution. This office works directly with the unit

teams, providing training and disseminating information to ensure that the

institution complies with the BOP Correctional Programs Division's policies and

procedures. The CMC provides coordination and oversight of many programs within

the institution, including, but not limited to, Central Inmate Monitoring, Financial

Responsibility, Admission and Orientation, Inmate Performance Pay, Victim/Witness

Program, and Adam Walsh Act compliance. The CMC also oversees the Correctional

Systems Department. I ha ve been employed by the BOP since August 28, 1991. I

have held my current position of CMC fo r approximately 13 years, but have worked

in Correctional Programs for approximat ely 23 years.

      3.     I make this declaration in connection with the BOP's response to the

Temporary Restraining Order and Class Action lawsuit filed by Petitioners Charles

Hallinan, Register Number 75207-066; Josean Kinard, Register Number 33603-058;

Arnold Hill, Register Number 09077-007; Benjamin McCrae, Register Number

87682-007; John Dailey, Register Number 39637-044; Lee Ayers, Register Number

03882-007; George Riddick, Register Number 72403-053; Jorge Maldonado, Register

Number 63756-018; Antwan Harris, Register Number 55584-056; Anthony Butler,

Register Number 65583-056; and, Troy Titus, Register Number 58299-083.

      4.     I am aware the Petitioner s are challenging FCC Butner's actions with

respect to the COVID-19 pandemic and seek release from confinement.



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                                                        RESPONDENTS' APPENDIX 011
   II.        STRUCTURE OF FCC BUTNER

         5.     FCC Butner is a federal prison complex that houses five separate

institutions: a Federal Medical Center ("FMC Butner'' or "FMC"), two medium

Federal Correctional Institutions ("FCI Butner I" or "FCI I", and "FCI Butner II" or

"the FCI II")), a Low Security Institution ("LSCI Butner" or ·'LSCI")). and a fede ral

prison camp, ("the Camp", "FPO Butner", or "FPO"). The total rated capacity for the

Complex is 4,095 inmates. The current population is 4,360.

         6.     As of June 1, 2020, FCC Butner housed a tot al of 1,225 sentenced

inmates who are over the age of 50: the FMC has 306 inmates; the FCI I a nd Camp

have a total of 236 inmates; t he LSCI has 432 inmates; and, the FCI II has 251

inmates.

   A. FMC Butner

         7.     FMC Butner is a Medical Referral Center ("MRC") and is a state of the

art medical facility comprised of an inpatient mental health unit, medical and

surgical units, and a cadre unit that houses working inmates who assist in the day-

to-day operations of the facility. Services provided include Chronic Care Clinics,

physical therapy, dialysis, wound care, tube feeding, ort hopedics, respiratory,

postoperative care, and oncology. In addition, it houses approximately 244 inmates

residing in the Cadre unit, who assist in t he day-to-day operations of the facility. The

FMC is the only "enclosed" institution on the Complex, and houses inmates of all

security levels, ranging from Minimum security to Maximum security. FMC Butner

has a rated capacity of 868 inmates, with an approximate current population of 908.

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                                                        RESPONDENTS' APPENDIX 012
      8.     The Cadre unit consists of two separate open, dormitory style housing

units, housing approximately 154 inmates in each unit.

      9.     The remainder of the housing units at the FMC consist of individual

cells, housing one to two inmates, based upon the specified mission of the unit,

whether it be for mental health inmates, medical or surgical patients, or inmates

undergoing ongoing treatments including oncology treatment, dialysis, post-surgery

recovery, or physical therapy.

   B. The Camp

      10.    Butner FCI I also provides administrative oversight and support to the

Federal Prison Camp. The Camp was established in 1991 as the second institution

at the complex and consists of four open, dormitory-style housing units: Hatteras East

and West, and Catawba East and West. The FPC is primarily an open institution

with a smal.L enclosed area of exterior fencing. FPC inmates are responsible for a

variety of duties throughout the complex and in the loca] communities.          Camp

inmates work on the following detail3: Landscaping, outside warehouses, custodial

care of the front lobbies and visitation areas at each of the facilities, and general

orderly maintena nce at the Veterans Hospital in Durham, North Carolina, and the

National Guard Armory in Butner, North Carolina. The Chapel of the Camp is

located at the back of the compound and is a separate building from the housing

Units. The Camp houses only Minimum security level inmates. The Camp has a

rated capacity of 296, with a current population of approximately 200 inmates.

   C. FCI Butner I

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                                                      RESPONDENTS' APPENDIX 013
      11.    FCI Butner I houses medium security inmates clustered in 400-bed

"program modules," and a 350-bed progressive treatment Psychiatric Center.

Additionally, it houses the Commit ment and Treatment Program for individuals

deemed sexually dangerous by a court pursuant to 18 U.S.C. § 4248.              FCI I

administration building contains the Warden's Office, Human Resources Department

and the Consolidated Mailroom. The FCI I is comprised of eight housing units. Each

unit is named for schools which ma ke up the Atlantic Coast Conference: Clemson,

Virginia, Georgia Tech, and Duke units house general population inmates, State and

Wake Forest units house Drug Abuse Treatment Program inmates, Maryland unit

houses Sex Offender Treatme nt Program inmates, and North Carolina unit houses

Forensic Case Study inmat es. The FCI I houses primarily Medium security level

inmates only, with exceptions generally for inmates undergoing forensic studies or

who have been committed by a federal court. FCI Butner I has a rated capacity of

788, with a current population of 649 inmates.

   D. FCI Butner II

      12.    The Federal Correctional Institution or FCI II was the fifth institution

constructed at FCC Butner, and is commonly referred to as "The Deuce." The FCI II,

which primary houses l\1edium security level inmates, was activated in 2006, and is

located on a hill between t he FMC and FCI I. There are approximately 1,527 inmates

designated to the FCI II. The F CI II is comprised of three general pop ulation housing

units, L, M, and O with general population inmates with medical and mental health

care levels 1 and 2. The Special Housing Unit, or "SHU'' is located at the FCI II and

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                                                      RESPONDENTS' APPENDIX 014
can accommodate 190 inmates. Each housing unit at the FCI II, to include the SHU,

is comprised of individual cells, which generally house between one to three inmates

per cell.

    E. LSCI Butner

           13.     LSCI Butner is comprised of four general population units contained in

two separate buildings, with a rated capacity of 992 male inmates. The units consist

of dormitory style wings, for a total of eight wings within the institution. Within each

unit there are individual housing units named for surrounding counties in North

Carolina: Granville, Wake, Durham, and Vance. The LSCI primarily houses Low

security level inmates. Currently, LSCI Butner has a population of approximately

1,162 inmates.

    III.         BOP'S AUTHORITY TO PLACE INMATES ON HOME
                 CONFINEMENT

           14.     Although BOP lacks the authority to release an inmate from his

sentence, BOP has the sole authority to transfer a prisoner to home confinement for

the remainder of his or her sentence pursuant to provisions and limitations set forth

18 U.S.C. § 3624(c)(2) and 34 U.S.C. § 60541. See also BOP Program Statement

7320.01, Home Confinement, and BOP Operations Memorandum Home Confinement

under the First Step Act. 1




1The full text of Program Statement 7320.01, Home Confinement, and BOP Operations Memorandum,
Home        Confinement      Under     the     First    Step     Act,   are     available  at
https://www.bop.gov/po1icy/progstat/7320_001_NC-2.pdf, and https://www.bop.gov/policy/om/001-
2020.pdf, respectively.
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                                                          RESPONDENTS' APPENDIX 015
   A. BOP's Authority Under 18 U.S.C. § 3624(c)(2)

      15.    Under 18 U.S.C. § 3624(c)(2), BOP has the exclusive authority to place

an inmate in home confinement for the shorter of 10 percent of the term of

imprisonment of or 6 mont hs. BOP. shall, to the extent practicable, place prisoners

with lower risk levels and lower needs on home confinement for the maximum

amount of time permitted under section 3624(c)(2).              During the inmate's

incarceration, BOP institution staff are responsible for making referrals to

Residential Reentry Centers ("RRCs") or home confinement, typically within 17-19

months of the inmate's release date.

      16.    In order to appropriately evaluate an individual for home confinement,

staff assesses the individual's risk of criminal activity in the community and

determines whether there js an appropriate home where the individual can be placed.

This is a time and resource intensive process. Upon receipt of the staff assessment,

BOP reviews the assessment and makes a final determination regarding home

confinement. If approved, and absent any disciplinary infractions, t he inmate will

serve the remainder of his or her sentence on home confinement.

   B. BOP's Authority Under 24 U.S.C. § 60541

      17.    Under 34 U.S.C. § 605 41, BOP may release some or a ll eligible elderly

offenders, and eligible terminally ill offenders, from BOP facilities to home

detention, upon written request from either BOP staff, or an eligible elderly

offender or eligible terminally ill offender. The statute defines "eligible elderly

offender" to include an inmate who: 1) is not less than 60 years of age; 2) is serving

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                                                       RESPONDENTS' APPENDIX 016
a term of imprisonment that is not life imprisonment based on a conviction for an

offense or offenses that do not include any crim e of violence, sex offense, or other

specified offenses, and has served two-thirds of the term of imprisonment to which

the offender was sentenced; 3) has not been convicted in the past of a ny Federal or

State crime of violence, sex offense, or other offense referenced in the statute; 4) has

not been determined by BOP to have a history of violence, or of engaging in conduct

constituting a sex offense or other excluded offense; 5) has not escaped, or attempted

to escape from a BOP institution; 6) whose release to home detention will result in

a substantial net reduction of cost s to the Federal Government; and, 7) has been

determined by BOP to be at no substantial risk of engaging in criminal conduct or

of endangering any person or the public if released to home detention .

       18.   "Eligible terminally ill offender" is defined as an offender m the

custody of BOP who meets a ll of the above-stated criteria except the age restriction,

and has been determined by a medical doctor approved by BOP (i.e., Clinical

Director of the local institution) to be in need of care at a nursing home,

intermediate care facility, or assisted living facility, or diagnosed with a terminal

illness.

       19.   In order to appropriately evaluate an elderly or terminally ill

ind ividual for home confinement, BOP assesses the individ·..1al's risk of criminal

activity in the community and determines whether t here is an appropriate home

where the individual can be placed.       As mentioned earlier, this is a time a nd

resource intensive process.

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                                                         RESPONDENTS' APPENDIX 017
      20.    If approved, absent any disciplinary infractions, the inmate would

serve the remainder of his or her sentence on home confinement.

      21.    Pursuant to the statute, a violation by an eligible elderly or terminally

ill offender of the terms of home detention (including the commission of another

Federal, State, or local crime) shall result in the removal of that offender from home

detention and the re turn of that offender to an appropriate BOP institution, as

determined by BOP.

      22.    Inmates that do not meet the criteria for the elderly home confinement

can be placed on home confinement under BOP's general authority to do so, as

provided in 18 U.S.C. § 3624(c)(2).

   C. The CARES Act

      23.    In light of the COVID-19 pandemic, BOP is maximizing its authority

to place inmates on home confinement and is expediting the process as much as

possible, in furtherance of the Attorney General's memoranda dated March 26, 2020

and April 3, 2020. These documents directed BOP to priorit ize the use of its

statutory authorities to grant home confinement for inmates seeking transfer in

connection with the ongoing COVID-19 pandemic, and provided further guidance

concerning criteria to be used.

      24.    The Coronavir us Aid, Relief, and Economic Security Act ("CARES

Act"), Pub. L. 116- 136, authorizes the Attorney General t o expand the cohort of

inmates who can be considered for home confinement upon his finding of emergency

conditions which are materially affecting the function of BOP. On April 3, 2020,

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                                                       RESPONDENTS' APPENDIX 018
the Attorney General made that finding a nd authorized the Director of BOP to

immediately maximize appropriate transfers to home confinement of all

appropriate inmates held at FCI Oakdale, FCI Danbury, F CI Elkton, and other

similarly situated BOP facilities where COVID-19 ia materially affecting

operations.

      25.     BOP has issued several guidance memoranda that govern the

evaluation of potentially eligible inmates. The most recent guidance was updated

on May 8, 2020. That guidance mandates that the following criteria should be met

when reviewing and referring inmates for home confinement: primary offense is not

violent; primary or prior offense is not a sex offense; primary or prior offense is not

terrorism-related; the inmate does not have any current detainer ; the inmate's

Mental Health Care Level is less than CARE-MR 4; the inmate has had no incident

reports in the past 12 months (inmates who have received a 300 or 400 series report

in t he past 12 months may be referred for placement if in the Warden's judgment

such placement does not create an undue risk to the community); the inmate is a

U.S. citizen; inmates with a "Minimum" PATTERN, or recidivism risk score will

receive priority treatment; priority is given to inmates residing in Low and

Minimum security facilities; and, the inmate has a suitable release plan.

      26.     As part of this review, not only does an inmate's assigned unit team

review his eligibility, but a review is also conducted by the Special Investigative

Services Department ("SIS") and the Health Services Department. SIS determines

if the inmate has engaged in violen t or gang-related activity while in prison. Health

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                                                        RESPONDENTS' APPENDIX 019
Services conducts multiple reviews. Initially, Health Services must determine the

age and vulnerability of the inmate related to COVID-19 risk factors, in accordance

with CDC and prevention guidelines . Additionally, Health Services reviews the

conditions under which the inmate would be confined upon release, to determine

whether those conditions would present a lower risk of contracting COVID-19 than

the inmate would face at the BOP facility. Health Services also determines whether

frequent and on-going medical care is required within the next 90 days.

      27.    Priority is given to inmates that have served at least 50% of their

sentence imposed; or, alternatively, have served at least 25% of their sentence with

18 months or less remaining to serve. Initially, the BOP identified inmates that

met the above criteria and had served at least 50% of the sentence imposed.

However, in order to increase the number of inmates eligible for home confinement,

the BOP changed the criteria to 50% of the statutory sentence (i.e. the sentence

length factoring in good conduct time), and added the criteria of 25%, with 18

months remaining, in order to identify additional potentially eligible inmates.

      28.    The guidance allows for slight deviation and prioritization by officials

at BOP. The guidance allows for discretion, and gives the YVarden the ability to

refer an inmate for placement in the community that does meet all the above-

referenced criteria. Referrals made outside of the stated criteria must be forwarded

to the BOP's Correctional Programs Division in Central Office for further review.




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                                                      RESPONDENTS' APPENDIX 020
   D. FCC Butner's Review of Home Confinement Eligibility

       29.   As with all reviews of an individual's appropriateness for placement in

either home confinement or an RRC, the unit team must consider multiple factors,

including the individual inmate's proposed release residence, any Supervised Release

conditions he may be subject to, as well as his ability to safely reenter the community,

such that he will be successful upon release.

       30.    FCC Butner began reviewing inmates for home confinement eligibility

based upon inmate rosters provided by the BO P's Central Office and the Mid-Atlantic

Regional Office staff. The initial roster produced a list of 80- 100 potentially eligible

inmates at FCC Butner, for unit teams across the Complex to assess for eligibility.

This roster took into account many of the discretionary factors, including: projected

release date, PATTERN risk, age, percentage of time served, offense category, and

public safety factors.

       31.   Central Office continues to provide priority roster lists which staff at

FCC Butner assess first. The rosters are continually moving down the list of

potentially eligible inmates. These now include inmates with Low recidivism or

PATTERN risk scores at all institutions across the Complex.

       32.   To date, at least 932 inmates have been reviewed for home confinement

under the CARES Act. At least 87 inmates have been referred for placement, and 42

have been transferred to home confinement and 9 inmates have transferred to RRCs,

since late March, 2020. An additional at least 24 inmates are pending transfer to

home confinement or an RRC.

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                                                        RESPONDENTS' APPENDIX 021
       33.     Twenty-four inmates are currently awaiting final decision from the

BOP's Residential Reentry Management Office, regarding their referral for home

confinement.

       34.     Since late March 2020, an additional 57 inmates have been released

from FCC Butner via compassionate release granted by the individual's sentencing

court based upon various issues, including COVID-19.

IV.   REDUCTION IN SENTENCE/COMPASIONATE RELEASE

       35.     As outlined in BOP Program Statement 5050.50, Compassionate

Release/Reduction In Sentence Procedures for Implementation of 18 U.S.C. §§ 3582

and 4205(g), 2 upon an inmate's request, the Director of BOP may make a motion to

an inmate's sentencing court to reduce a term of imprisonment under 18 U.S.C. §

4205(g) and 18 U.S.C. § 3582(c)(l)(A). The Warden of a BOP institution does not have

the authority to grant a compassionate release, as this decision must be made by the

Director.

       36.     The First Step Act, codified at' 18 U.S. C. § 3582, specifies that an inmate

may file a Motion for Reduction of Sentence directly to the sentencing court after

exhaustion of administrative remedies, or 30 days from the date the Warden receives

such a request from the inmate, whichever is earlier. The determination of release

is ultimately the decision of the sentencing court.




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  The full text of Program Statement 5050.50, Compassionate Release/Reduction In Sentence
Procedures for Implementation of 18 U.S.C. §§ 3582 and 4205(g), is available at
https://www.bop.gov/policy/progstat/5050_050_EN.pdf.
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                                                          RESPONDENTS' APPENDIX 022
      37.    The     Bureau has identified several circumstances deemed              as

"extraordinary or compelling", thereby warranting a compassionate release:

        1.   Terminal Medical Condition - Inmates who have been diagnosed

             with a terminal, incurable disease and whose life expectancy is eighteen

              (18) months or less, and/or has a disease or condition with an end-of-life

             trajectory under 18 USC§ 3582(d)(l).

       11.   Debilitated Medical Condition - Inmates who have an incurable,

             progressive illness or who have suffered a debilitating injury from which

             they will not recover. Cnder this criteria, the BOP should consider a

             compassionate release if the inmate is:

              1.   Completely disabled, meaning the inmate cannot carry on any self-
                   care and is totally confined to a bed or chair; or
             11.   Capable of only limited self-care and is confmed to a bed or chair
                   more than 50% of waking hours.

       m.    "New Law" Elderly Inmates - Inmates sentenced for an offense that

              occurred on or after November 1, 1987, who are age 70 years or older

              and have served 30 years or more of their term of imprisonment.

       1v.    Elderly Inmates with Medical Conditions - Inmates who fit the

              following criteria:

              1.  Age 65 and older;
              11. Suffer from chronic or serious medical conditions related to the aging
                  process;
             111. Experiencing   deteriorating mental or physical health that
                  substantially diminishes their ability to function in a correctional
                  facility;
             iv. Conventional treatment promises no substantial improvement to
                  their mental or physical condition; and,
              v. Have served at least 50% of their sentence.
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                                                       RESPONDENTS' APPENDIX 023
        v.   Other Elderly Inmates - Inmates age 65 or older who have served the

             greater of 10 years or 75% of the term of imprisonment to which the

             inmate was sentenced.

       vi.   Death or Incapacitation of the Family Member Caregiver - This

             criteria includes the death or incapacitation of the family member

             caregiver of an inmate's biological or legally adopted minor child or

             children, who are suddenly without a family member caregiver due to

             that caregiver's death or incapacitation.

      vu.    Incapacitation of a Spouse or Registered Partner - This criteria includes

             the incapacication of an inmate's spouse or registered partner when the

             inmate would be the only available caregiver for the spouse or registered

             partner.

      38.    The Bureau has not expanded the criteria for compassionate release to

include COVID-19, and particularly an individual's possible exposure to COVID-19.

Where an inmate raises COVID-19 as a basis for compassionate release, along with

the above-noted criteria, he is reviewed under the criteria as noted above.

      39.    All compassionate release requests, regardless of the basis, are initiated

at the institution level, by a request submitted to the Warden. The request shall be

in writing, and may be submitted by inmate or an individual, on behalf of the inmate.

      40.    The   request   shall   identify   the   extraordinary    or     compelling

circumstances that the requested believes warrants consideration.


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                                                         RESPONDENTS' APPENDIX 024
      41.    The request shall also include a proposed release plan, which indicates

where the inmate will reside, how he will support himself, and if the basis of the

request involves his health. information on where the inmate will receive treatment

and how the inmate will pay for such treatment.

      42.    At FCC Butner, all requests for compassionate release are submitted to,

or routed to, social workers assigned at each institution. The social workers then

confer with the inmate's medical providers, in order to determine the inmate's current

medical condition and ability to function independently in the correctional setting.

      43.    Where an inmate's medical provider determines that he may meet the

basic medical criteria for a compassionate release, the social worker then reviews the

inmate's proposed release plan, including verifying the proposed residence and

discussions with the proposed caregivers. Additionally, in these cases, the inmate's

proposed release plan is also forwarded to the appropriate U.S. Probation Office for

review and approval.

      44.    The Bureau of Prisons makes a motion under 18 U.S.C. 4205(g) or

3582(c)(l)(A) only after review of the request by the Warden, the General Counsel,

and either the Medical Director for medical referrals or the Assistant Director,

Correctional Programs Division for non-medical referrals, and with the approval of

the Director, Bureau of Prisons.

      45.    All FCC Butner Wa1·den promptly review a request for consideration

under 18 U.S.C. 4205(g) or 3582(c)(l)(A). If the \Varden, upon an investigation of the



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                                                      RESPONDENTS' APPENDIX 025
request determines that the request warrants approval, the Warden refers the matter

in writing with recommendation to the Office of General Counsel.

       46.    When an inmate's request is denied by the Warden, the inmate will

receive written notice and a statement of reasons for the denial. The inmate may

appeal the denial through the BOP's Administrative Remedy Procedure.

       47.    When the Director, Bureau of Prisons, denies an inmate's request, the

Director shall provide the inmate with a written notice and statement of reasons for

the denial within 20 workdays after receipt of the referral from the Office of General

Counsel. A denial by the Director constitutes a final administrative decision.

        48.   Because a denial by the General Counsel or Director, Bureau of Prisons,

constitutes a final administrative decision, an inmate may not appeal the denial

through the Administrative Remedy Procedure.

        49.   Since March 20, 2020, 57 FCC Butner inmates have been granted

compassionate release by their individual sentencing courts, based upon a variety

circumstances, but also specifically referencing COVID-19.

V.     PETITIONERS' REVIEW FOR HOME CONFINEMENT UNDER THE
       CARES ACT, AND REQEUSTS FOR COMPASSIONATE RELEASE

        50.   Each of the Petitioners have been reviewed for home confinement

eligibility, in accordance with the CARES Act. In addition, several of the Petitioners

have submitted requests for compassionate release.

     A. Charles Hallinan, Reg. No. 75207-066

        51.   Inmate Hallinan is currently designated to LSCI Butner, and is in

service of a 168-month sentence for RICO conspiracy, mail fraud, wire fraud, and
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                                                       RESPONDENTS' APPENDIX 026
money laundering. His sentence commenced on July 30, 2018, and he is currently

scheduled to release from his sentence on July 3, 2030, via good conduct time.

      52.    Inmate Hallinan was reviewed for home confinement under the CARES

Act. He was denied placement due to the fact that he has served only 15.4% of his

statutory term (as of June 1, 2020).

      53.    In a request dated April 28, 2020, and received by staff on May 7, 2020,

inmate Hallinan requested a compassionate release based upon his medical

conditions and COVID-19. See Attachment 1, Inmate Request to Staff, Charles

Hallinan, Reg. No. 75207-066 (Apr. 28, 2020). His request was reviewed by his

medica l provider , who det ermined that he did not have a t erminal or debilitated

medical condition, nor does he suffer from a chronic or serious medical condition

related to the aging process, or which substantially diminishes his ability to function

in a correctional facility. His provider stated that he is independent with all of his

activities of daily living. See Attachment 1, Email (May 13, 2020).

      54.    In a response dated May 14, 2020, the LSCI Butner Warden denied

inmate Hallinan's request for compassionate release. See Attachment 1, Response to

Charles Hallinan, Reg. No. 75207-066 (May 14, 2020).

   B. Josean Kinard, Reg. No. 33603-058

      55.    Inmate Kinard is currently designa ted to LSCI Butner , and is in service

of 70-month sentence for possession of a firearm by a felon, possession with intent to

distribute cocaine, and possession with intent to distribute cocaine base.         His



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                                                       RESPONDENTS' APPENDIX 027
sentence commenced on February 15, 2018, and he is currently scheduled to release

from his sentence on May 9, 2022, via good conduct time release.

        56.   Inmate Kinard was reviewed for home confinement under the CARES

Act. He was denied placement due to his current offense, as well as his PATTERN

score of Medium recidivism risk.

        57.   In a request dated May 11, 2020, inmate Kinard requested a

compassionate release based upon COVID-19. See Attachment 2, Inmate Request to

Staff, Josean Kinard, Reg. No. 33603-058 (May 11, 2020).            To date, a final

determination has not been made regarding his request.

   C. Benjamin McCrae, Reg. No. 87682-007

        58.   Inmate McCrae is currently designated to LSCI Butner, and is in service

of a 60-month sentence for unlawful possession with intent to distribute cocaine base.

His sentence commenced on '-Tuly 11, 2019, and he is currently scheduled to release

from his sentence on J anua ry 26, 2022, via good conduct time release.

        59.   Inmate McCrae was reviewed for home confineme nt under the CARES

Act and on April 24, 2020, and was referred for home confinement placement. Inmate

McCrae has been approved for placement on home confinement beginning on June 9,

2020.

        60.   To date, inmate McCrae has not submitted a request for compassionate

release.

   D. Arnold Hill, Reg. Ko. 09077-007



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                                                      RESPONDENTS' APPENDIX 028
      61.    Inmate Hill is currently designated to LSCI Butner, and is in service of

a life sentence for first-degree murder while armed. His sentence commenced on May

12, 1989, and he is currently scheduled for a parole hearing in March 2022.

      62.    Inmate Hill was reviewed for home confinement under the CARES Act.

He was denied placement due to his current violent offense, as well as his history of

violence.

      63.    On May 6, 2020, inmate Hill submitted a request for compassionate

release based upon the "Elderly with Medical Conditions" criteria. See Attachment

3, Inmate Request to Staff, Arnold Hill, Reg. No. 09077-007 (May 6, 2020). His

request was reviewed by his medical provider, who determined that he did not have

a terminal or debilitated medical condition, nor does he suffer from a chronic or

serious medical condition related to the aging process, or which substantially

diminishes his ability to function in a correctional facility. His provider stated that

he is independent with all of his activities of daily living. See Attachment 3, Response

to Arnold Hill, Reg. No. 09077-007 (May 15, 2020).

      64.    In a response, dated May 15, 2020, the LSCI Butner Warden denied

inmate Hill's request for compassionate release.

   E. John Dailey, Reg. No. 39637-044

      65.    Inmate Dailey is cun-ently designated to LSCI Butner, and is in service

of a 27-month sentence for health care fraud, and false statements relating to health

care matters. His sentence commenced on September 21, 2019, and he is currently



                                          20
                                                       RESPONDENTS' APPENDIX 029
scheduled to release from his sentence on August 20, 2021, via good conduct time

release.

      66.    Inmate Dailey was reviewed for home confinement under the CARES

Act, and on April 17, 2020, was referred for home confinement placement. Inmate

Dailey has been approved for placement on home confinement beginning on August

20, 2020.

      67.    On December 1, 2019, inmate Dailey requested a compassionate release

based upon a "Terminal Medical Condition", specifically an "aggressive non-curable

cancer." See Attachment 4, Inmate Request to Staff, J ohn Dailey, Reg. No. 39637-

044 (Dec. 1, 2019). His request was reviewed by his medical provider, who noted t hat

he has Stage IIB Mycosis Fungoides, which has a median survival r ate of greater

than 11 years. The oncologist noted that approximately one-quarter will progress to

more advanced disease, while nearly 20 percent will die of ca uses related to Mycosis

Fungoides. See Attachment 4, Email (Dec. 16, 2019).

      68.    In a response elated December 18, 2019, the FMC Butner Warden denied

inmate Dailey's request for compassionate release. See Attachment 4, Response to

J ohn Dailey, Reg. No. 39637-044 (Dec. 18, 2019).

   F. Lee Ayers, Reg. No. 03882-007

      69.    Inmate Ayers is currently designated to FCI Butner II, and is in service

of an aggregate 180-month sentence for possession of a firearm during a crime of

violence, assault with a dangerous weapon, unlawful possession of a firearm, and

possession with intent to distribute cocaine base. His aggregate sentence commenced

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                                                      RESPONDENTS' APPENDIX 030
on November 11, 2009, and he is currently scheduled to release from his aggregate

sentence on March 5, 2022, via good conduct time release.

      70.    Inmate Ayers is not currently being considered for home confinement

under the CARES Act due to the fact that he is a Medium security level inmate, as

well as his current violent offense, and a PATTERN score of High recidivism risk.

      71.    In a request dated December 2, 2019, inmate Ayers requested a

compassionate release based upon his medical condition. See Attachment 5, Inmate

Request to Staff, Lee Ayers, Reg. No. 03882-007 (Dec. 2, 2019). His request was

reviewed by his medical provider, who acknowledged his B12 deficiency, but did not

meet the criteria for terminal or debilitated medical condition. See Attachment 5,

Response to Lee Ayers, Reg. No. 03882-007 (Dec. 4, 2019).

      72.    In a response dated December 4, 2019, the FCI Butner II Warden denied

inmate Ayers' request for compassionate release. See Attachment 5, Response to Lee

Ayers, Reg. No. 03882-007 \'Dec. 4, 2019).

      73.    In a letter dated May 11, 2020, attorneys for inmate Ayers submitted a

request for compassionate release to the FCI Butner II Warden, citing his medical

condition, race, gender, and the COVID-19 pandemic as the basis for the request. See

Attachment 6, Letter to Warden of Butner Medium II (May 11 , 2020). To date, a final

determination has not been made with regard to this request.

   G. George Riddick, Reg. No. 72403-053

      74.    Inmate Riddick is currently designated to FCI Butner II, and is in

service of a life sentence for murder while armed, possession of a firearm during

                                         22
                                                     RESPONDENTS' APPENDIX 031
commission of a crime of violence, and carrying a pistol without a license. His

sentence commenced on Ju~y 9, 2007.

      75.    Inmate Riddick was reviewed for home confinement under the CARES

Act. He was denied home confineme nt placement based upon the fact that he is a

Medium security level inmate, as well as his life sentence, his current violent offense,

and a PATTERN score of Medium recidivism risk.

      76.    To date, inmate Riddick has not submitted a request for compassionate

release.

   H. Jorge Maldonado, Reg. No. 63756-018

      77.     Inmate Maldonado is currently designated to FPC Butner, and is in

service of an aggregate 84-month sentence for conspiracy to commit wire fraud, wire

fraud and aiding and abetting, theft of government property and aiding and abetting,

fraud/identity theft, and, aggravated identity theft and aiding and abetting. His

aggregate sentence commenced on March 24, 2017, and he is currently scheduled to

release from his aggregate sentence on November 20, 2022, via good conduct time

release.

      78.    Inmate Maldonado was reviewed for home confinement under the

CARES Act, and determined to be eligible. He has request:ed a relocation of his

Supervised Release district, and that request for relocation is currently pending with

the U.S. Probation Office for his proposed release district. Upon approval of the

relocation, his referral for home confinement will be forwarded to the Residential

Reentry Management office- for review and approval.

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                                                       RESPONDENTS' APPENDIX 032
         79.   In a request dated March 27, 2020, inmate l\,laldonado requested a

compassionate release based upon a debilitated medical condition. See Attachment

7, Inmate Request to Staff, Jorge Maldonado, Reg. No. 63756-018 (Mar. 27, 2020).

His request was reviewed by his medical provider, who noted that his medical

condition was currently under control, and he remained fully independent and able

to complete all of his own activities of daily living. See Attachment 7, Email (Apr. 23,

2020).

         80.   In a response dated April 24, 2020, the FCI Butner Warden denied

inmate Maldonado's request for compassionate release. See Attachment 7, Response

to Jorge Maldonado, Reg. Ko. 63756-018 (Apr. 24, 2020).

   I. Antwan Harris, 55584-056

         81.   Inmate Harris is currently designated to LSCI Butner, and is in service

of an aggregate 173-month sentence for possession with intent to distribute

marijuana and possession of a firearm in furthera nce of a drug trafficking crime. His

aggregate sentence commenced on March 7, 2012, and he is currently scheduled to

release from his aggregate sentence on October 4, 2022, via good conduct time release.

         82.   Inmate Harris is not currently being considered for home confinement

under the CARES Act due to his current violent offense for possession of a firearm in

furtherance of a drug trafficking crime.

         83.   To date, inmate Harris has not submitted a request for compassionate

release.



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                                                       RESPONDENTS' APPENDIX 033
   J. Anthony Butler, Reg. No. 65583-056

      84.    Inmate Butler is currently designated to LSCI Butner, and is in service

of an aggregate 96-month sentence for felon in possession of a firearm and possession

of a firearm in furtherance of a drug trafficking crime. His aggregate sentence

commenced on September 26, 2019, and he is currently scheduled to release from his

aggregate sentence on November 1, 2025, via good conduct time release.

      85.    Inmate Butler is not currently being considered for home confinement

under the CARES Act due t o his current violent offense, a history of violence, and a

PATTERN score of Medium recidivism risk. Additionally, inmate Butler has served

only 21.8% of his statutory term (as of June 1, 2020).

      86.    In a request dated April 16, 2020, inmate Butler requested a

compassionate release based upon a debilitated medical condition and the COVID-19

pandemic. See Attachment 8, Inmate Request to Staff, Anthony Butler , Reg. No.

(Apr. 16, 2020). His reque st was reviewed by his medical provider, who noted that

he a 35-year old male whose current medical conditions remain under good control.

His provider stated that he is fully independent and able to complete all of his own

activities of daily living. See Attachment 8, Email (Apr. 22, 2020).

      87.    In a response dated April 22, 2020, the LSCI Butner Warden denied

inmate Butler's request for compassionate release. See Attachment 8, Response to

Anthony Butler, Reg. No. 65583-056 (Apr. 22, 2020).



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                                                         RESPONDENTS' APPENDIX 034
     K. Troy Titus, Reg. No. 58299-083

       88.      Inmate Titus is currently designated to LSCI Butner , and is in service

of a 360-month sentence for conspiracy to commit mail and wire fraud, wire fraud,

mail fraud, promotional money laundering, and engaging in unlawful monetary

transactions.     His sentence commenced on April 15, 2010, and he is currently

scheduled to release from h is sentence on J anuary 8, 2035, via good conduct time

release.

       89.      Inmate Titus is not currently being considered for home confinement

under the CARES Act due to having served only 42.8% of his sentence, and having

more than 34 years remaining to serve (as of June 1, 2020).

        90.     To dat e, inmate Titus has not submitted a request for compassionate

release.

V.      FCC BUTNER COVID-19 DEATHS

        91.     Since April 11, 2020, FCC Butner has had 15 inmates die as a result of

COVID-19 and related complications.

     A. Charles Rootes, Re g. No. 95255-131

        92.     Inmate Rootes was an 8 1-year-old, and, at the time of his death on April

11, 2020, was designated to FCI Butner. He was in service of a 99-year sentence for

kidnapping, National Motor Vehicle Theft Act, and rape. His sentence commenced

on June 27, 2001.



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                                                         RESPONDENTS' APPENDIX 035
      93.    At the time of his death, inmate Rootes was not being considered for

home confinement under t he CARES Act due to his current violent offenses, which

include a sex offense, as well as a PATTERN score of Medium recidivism risk.

Additionally, inmate Rootes was a Medium security level inmate.

      94.    Inmate Rootes did not submit any requests for compassionate release

while at FCC Butner .

   B. Gary Nixon, Reg. No. 21564-056

      95.    Inmate Nixon was a 57-year-old, and, at the time of his death on April

12, 2020, was designated t o FCI Butner . He was in service of aggregate 155-month

sentence for conspiracy to distribute with intent to distribute cocaine base, a nd a

supervised release violation. His sentence commenced on December 13, 2018.

      96.    At the time of his death, inmate Nixon was not being considered for

home confinement under the CARES Act due to the fact that he was a Medium

security level inmate, as well as a history of violence, a PATI'ERN score of High

recidivism risk, and having received a serious incident report within t he past year .

Additionally, at the time of his death, inmate Nixon had served only 17 .8% of his

statutory term.

      97.    Inmate Nixon submitted a request for compassionate release on March

25, 2020, based upon COVJD- 19 and his medical conditions. At the time of his death,

a final determination had not been made with regard t o his request.

   C. Andre Williams, Reg. No. 05933-017



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                                                      RESPONDENTS' APPENDIX 036
      98.    Inmate Williams was a 78-year-old. and, at the time of his death on April

12, 2020, was designated to FCI Butner . He was in service of a life sentence for armed

bank robbery and possession of a firearm by a convicted felon.           His sentence

commenced on February 2, 2005.

      99.    At the time of his death, inmate Williams was not being considered for

home confinement under the CARES Act due to the fact that he was a Medium

security level inmate, as well as his current violent offense and a history of violence,

a PATTERN score of Medium recidivism risk, and having received a serious incident

report within the past year.

      100.   Inmate Williams had not submitted any requests for compassionate

release since 2019, when his prior request was denied upon a finding that he did not

meet criteria for consideration.

   D. John Doe, Reg. No. 65795-053

      101.   Inmate Doe was a 46-year old, and, at t he t ime of his death on April 13,

2020, was designated to FCI Butner. He was in service of a 57-month sentence for

making materially false statements. His sentence commenced on October 10, 2018.

      102. At the time of his death, inmate Doe was not being considered for home

confinement under the CARES Act due to the fact that he was a Medium security

level inmate, as well as a history of sex offense and a PATTERN score of High

recidivism risk.

      103.   Inmate Doe did not submit any requests for compassionate release while

at FCC Butner.

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                                                       RESPONDENTS' APPENDIX 037
   E. Fabian Tinsley, Reg. No. 35909-007

      104.   Inmate Tinsley was a 67-year-old, and, at the time of his death on April

16, 2020, was designated to FCI Butner. He was in service of a 23-year sentence for

kidnapping while armed and aggravated assault while armed.             His sentence

commenced on March 25, 2005.

      105. At the time of his death , inmate Tinsley was not being considered for

home confinement under the CARES Act due to the fact that he was a Medium

security level inmate, as well his instant violent offense, and a PATIERN score of

Medium recidivism risk.

      106.   Inmate Tinsley had not submitted any requests for compassionate

release since 2018, when he submitted a request but subsequently withdrew the

request.

   F. William Minto, Reg. No. 20529-074

      107.   Inmate Minto was a 73-year-old, and, at the time of his death on April

28, 2020, was designated to FPC Butner. He was in service of a 240-month sentence

for conspiracy to distribute and possess with intent to distribute marijuana. His

sentence commenced on November 14, 2006.

      108.   At the time of his death, inmate Minto had been reviewed for home

confinement under the CARES Act, and his referral for home confinement placement

was pending fina l approval.

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                                                     RESPONDENTS' APPENDIX 038
      109.   Inmate Minto submitted a request for compassionate release on March

4, 2020, requesting consideration based upon the ''Debilitated Medical Condition" and

"Elderly with Medical Condition" criteria.      At the time of his death, a final

determination had not been made with regard to his request.

   G. William Miller, Reg. No. 22111-055

      110. Inmate Miller was a 58-year old, and, at the time of his death on May 6,

2020, was designated to F'CI Butner. He was in service of a 14-year sentence for

coercion and enticement of a minor. His sentence commenced on December 17, 2014.

      111. At t he time of his death, inmate Miller was not being considered for

home confinement under the CARES Act due to being a Medium security level

inmate, as well as his inst a nt sex offense, a PATTERN score of High recidivism risk,

and having received a serious incident report within the past year.

      112.   Inmate Miller had not submitted any requests for compassionate release

since 2019, when his prior request was denied based upon the U .S. P robation Office

denying his proposed release plan.

   H. Jerry Dempsey, R4Eig. No. 22917-298

      113. Inmate Dempsey was a 59-year-old, and, at the time of his death on May

15, 2020, was designated to FCI Butner. He was in service of a 130-month sentence

for conspiracy to distribute methamphetamine.         His sentence commenced on

February 17, 2012.




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                                                      RESPONDENTS' APPENDIX 039
       114.   At the time of his death, inmate Dempsey was not being considered for

home confinement under che CARES Act due to being a Medium security level

inmate, and a PATTERN score of High recidivism risk.

       115.   Inmate Dempsey did not submit any requests for compassionate release

while at FCC But ner .

   I. Eri c Spiwak, Reg. ~o. 70347-056

       116. Inmate Spiwak was a 73-year-old, and, at the time of his death on May

25, 2020, was designated to LSCI Butner. He was in service of a 188-month sentence

for possession of child pornography. His sentence commenced on March 18, 2009.

       117. At t he time of his deat h, inmate Spiwak had bee n reviewed for home

confinement under t he CARES Act, but was denied placement on May 21, 2020, due

to his instant sex offense.

      118.    Inmate Spiwak had net submitted any request for compassionate

release since his prior request was denied in 2016, based upon a finding that he did

not meet the criteria for consideration.

   J . Isaac Byers, Reg. No. 27114-058

       119. Inmate Byers was a 52-year-old, and, at the time of his death on May

26, 2020, was designated to FPC Butner. He was in service of a 151-month sentence

for possession with intent to distribute cocaine base. His sentence commenced on

August 29, 2013.




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                                                     RESPONDENTS' APPENDIX 040
      120. At the time of his death, inmate Byers was not being considered for home

confinement under the CARES due to a history of violence and a PATTERN score of

Medium recidivism risk.

      121.   Inmate Byers did not submit any requests for compassionate release

while at FCC But ner.

   K. Dongfan Chung, Re g. No. 45436-112

      122.   Inma te Chung was an 84-year-old, a nd, at the time of his death on May

28, 2020, was designated to LSCI Butner . He was in service of a 188-month sentence

for economic espionage, acting as an agent of foreign government wit hout prior

notification to the Attorney General, and false statements. His sentence commenced

on February 8, 2010.

      123.   At the time of his death, inmate Chung had been reviewed and referred

for home confinement placement under the CARES Act. On April 17, 2020, he was

denied placement due to his instant offense.

      124.   Inmate Chung did not submit a ny requests for compassionate release

while at FCC Butner.

   L. Bernardo Olarta-Loaiza, Reg. No. 63404-018

      125.   Inmate Olarta-Loaiza was a 63-year-old, and, at t he time of his death on

May 30, 2020, was designated to LSCI Butner . He was in service of a 144-month

sentence for marit ime drug and conspiracy to possess with intent to distribute cocaine

while on board a vessel subject to t he jurisdiction of the United States. His sentence

commenced on March 23, 2018.

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                                                       RESPONDENTS' APPENDIX 041
      126. At the time of his death, inmate Olarta-Loaiza was not being considered

for home confinement under the CARES Act due to the fact that be was not a citizen

of the United States.

      127.   Inmate Olarta -Loaiza did not submit any requests for compassionate

release while at FCC Butner.

   M. Steve Robinette, Reg. No. 28177-057

      128.   Inmate Robinette was a 79-year-old, and, at the time of his death on

May 30, 2020, was designa ted to LSCI Butner. He was in service of a 216-month

sentence for coercing a mir.or to engage in sexually explicit conduct for the purpose

of producing child pornography. His sentence commenced June 7, 2012.

      129. At the time of his death, inmate Robinette had been had been reviewed

and referred for home confinement placement under t he CARES Act. On May 21,

2020, he was denied placement due to his instant sex offense.

      130.   Inmate Robinette submitted a request for compassionate release on

January 13, 2020, based upon the "Elderly with Medical Condition" criteria. His

request was pending at the time of his death.

   N. David Grant, Reg. No. 11138-171

      131.   Inmate Grant was a 63-year-old, and, at the time of his death on May

31, 2020, was designated to LSCI Butner. He was in service of an aggregate 180-

month sentence for supervised release violations, and felon in possession of a firearm,

ammunition, and possession with intent to distribute heroin.            His sentence

commenced April 11, 2019.

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                                                       RESPONDENTS' APPENDIX 042
        132. At the time of his death, inmate Grant was not being considered for

home confinement under the CARES Act due to a current violent offense, and a

history of violence. Additic-nally, at the time of his death, inmate Grant had served

only 21.7% of his statutory term.

        133.   Inmate Grant submitted a request for compassionate release on April

15, 2020, based upon the "Debilitated Medical Condition" criteria. His request was

denied by the Warden on April 22, 2020, based upon a finding that he did not meet

criteria for consideration.

   0. Juan Ledoux-Moreno, Reg. No. 21198-069

        134.   Inmate Ledou..x-Moreno was a 74-year-old, and, at the time of his death

on June 1, 2020, was designated to LSCI Butner. He was in service of a 12-month

and 1-day sentence for prohibited person in possession of a firearm, and possession

with intent to distribute a controlled substance. His sentence commenced August 20,

2019.

        135. At the time of his death, inmate Ledoux-Moreno had been reviewed and

for home confinement placement under the CARES Act. On April 17, 2020, he was

denied placement .

        136.   Inmate Ledo\j.x-Moreno did not submit any requests for compassionate

release while at FCC Butner.

        137.   Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the

foregoing is true and correct.

        Executed this 2nd day of June, 2020.

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                                                        RESPONDENTS' APPENDIX 043
::;;/Lo~
Phillip Clari'
Complex Case Management Coordinator
Federal Correctional Complex
Butner, North Carolina




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            RESPONDENTS' APPENDIX 044
